                      IN THE UNITED STATES DISTRICT COURT FOR THE
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION


UNITED STATES OF AMERICA                              ) DOCKET NO.: 3:16-CR-221-MOC-DCK
                                                      )
      v.                                              )
                                                      )
  (1) ROBERT LESLIE STENCIL,                          ) ORDER TO UNSEAL DOCUMENTS
  (2) DAVID THOMAS BROYLES SR.,                       ) RELATING TO DEFENDANTS NO. (1)-(9)
  (3) KRISTIAN FRANCIS SIERP,                         )
  (4) LUDMILA O. STENCIL,                             )
  (5) MARTIN DELAINE LEWIS,                           )
  (6) NICHOLAS FLEMING,                               )
  (7) MICHAEL ALLEN DUKE,                             )
  (8) PAULA SACCOMANNO, and                           )
  (9) DENNIS SWERDLEN                                 )


           THIS MATTER IS BEFORE THE COURT on the government’s “Motion To Unseal

 Documents Relating To Defendants No. (1) - (9)” (Document No. 156) filed by and through Jill

 Westmoreland Rose, United States Attorney for the Western District of North Carolina, seeking

 an order directing that all documents or portions of documents filed in the above-captioned action

 relating to Defendants Number (1)-(9), be unsealed because there is no longer a need for those

 documents to be sealed;

           IT IS HEREBY ORDERED that all documents or portions of documents filed in the

 above-captioned action relating to Defendants Number (1)-(9), be unsealed.

           The Clerk is directed to certify copies of this Order to the United States Attorney's Office.



                                           Signed: November 3, 2017




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